

ORDER

PER CURIAM:
AND NOW, this 22nd day of July, 1998, Terry Jackson Kolp having been indefinitely suspended from the practice of law in the District of Columbia by Order of the District of Columbia Court of Appeals filed November 5, 1997; the said Terry Jackson Kolp having been directed on May 11, 1998, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED, pursuant to Rule 301(c), Pa. R.D.E., that Terry Jackson Kolp shall be transferred to inactive status for an indefinite period of time until further Order of this Court, and he shall comply with the provisions of Rule 217, Pa.R.D.E.
